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                         UNITED STATES DISTRICT COURT

                            DISTRICT OF SOUTH DAKOTA

                                 WESTERN DIVISION


UNITED STATES OF AMERICA,                                5:24-CR-50185-CCT-01


                    Plaintiff,
                                                      AMENDED ORDER SETTING
       vs.                                             CONDITIONS OF RELEASE
PATRICK ROSS,


                    Defendant.


IT IS ORDERED that the release of the defendant is subject to the following conditions:

      (1)    You shall not commit any offense in violation of federal, state, local, or
             tribal law while on release in this case.

      (2)    You shall immediately advise pretrial services, the U.S. Attorney’s Office
             and defense counsel in writing of any change in address or telephone
             number.

      (3)    You shall maintain regular contact with your attorney and promptly
             respond to any inquiries from him.

      (4)    You shall appear at all proceedings as required and shall surrender for
             service of any sentence imposed as directed.

      (5)    You shall cooperate in the collection of a DNA sample as authorized by
             statute.

      (6)    You shall not possess a firearm, destructive device, live ammunition, or
             other dangerous weapon.

      (7)    You shall not travel out of the district unless approved by the Probation
             and Pretrial Services Office.

      (8)    You shall not have any contact, directly or indirectly, with alleged
             victim(s), witnesses, or codefendant(s).

      (9)    You shall not use or unlawfully possess a narcotic drug, or other
             controlled substances defined in 21 U.S.C. § 802, unless prescribed by a
             licensed medical practitioner. Except as authorized by court order, the
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             defendant shall not possess, use, or sell marijuana or any marijuana
             derivative (including THC) in any form (including edibles) or for any
             purpose (including medical purposes).

      (10)   You shall not use alcohol and shall submit to any method of testing as
             directed by the Probation and Pretrial Services Office.

      (11)   You shall report to Probation and Pretrial Services as directed.

      (12)   You shall not transfer, sell, or dispose of any assets without prior
             approval from the court.

                         Advice of Penalties and Sanctions

TO THE DEFENDANT:

      YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       A violation of any of the foregoing conditions of release may result in the
immediate issuance of a warrant for your arrest, a revocation of release, an order of
detention, and a prosecution for contempt of court and could result in a term of
imprisonment, a fine, or both.
       The commission of a Federal offense while on pretrial release will result in an
additional sentence of a term of imprisonment of not more than ten years, if the
offense is a felony; or a term of imprisonment of not more than one year, if the offense
is a misdemeanor. This sentence shall be in addition to any other sentence.
       Federal law makes it a crime punishable by up to ten years of imprisonment,
and a $250,000 fine or both to obstruct a criminal investigation. It is a crime
punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper
with a witness, victim or informant; to retaliate or attempt to retaliate against a
witness, victim or informant; or to intimidate or attempt to intimidate a witness,
victim, juror, informant, or officer of the court. The penalties for tampering,
retaliation, or intimidation are significantly more serious if they involve a killing or
attempted killing.
       If after release, you knowingly fail to appear as required by the conditions of
release, or to surrender for the service of sentence, you may be prosecuted for failing
to appear or surrender and additional punishment may be imposed. If you are
convicted of:
       (1)     an offense punishable by death, life imprisonment, or imprisonment for a
               term of fifteen years or more, you shall be fined not more than $250,000
               or imprisoned for not more than ten years, or both;
       (2)     an offense punishable by imprisonment for a term of five years or more,
               but less than fifteen years, you shall be fined not more than $250,000 or
               imprisoned for not more than five years, or both;
       (3)     any other felony, you shall be fined not more than $250,000 or
               imprisoned not more than two years, or both;
       (4)     a misdemeanor, you shall be fined not more than $100,000 or
               imprisoned not more than one year, or both.
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       A term of imprisonment imposed for failure to appear or surrender shall be in
addition to the sentence for any other offense. In addition, a failure to appear or
surrender may result in the forfeiture of any bond posted.

                        Directions to United States Marshal

(X)   The defendant is ORDERED released after processing.

( )   The United States marshal is ORDERED to keep the defendant in custody until
      notified by the clerk or judicial officer that the defendant has posted bond
      and/or complied with all other conditions for release. The defendant shall be
      produced before the appropriate judicial officer at the time and place specified,
      if still in custody.

      DATED this 31st day of January, 2025.

                                        BY THE COURT:




                                        DANETA WOLLMANN
                                        United States Magistrate Judge
